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                                          U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York

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                                                     December 8, 2020
BY ECF

The Honorable Lorna G. Schofield
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

       Re:     United States v. Stephen M. Calk, 19 Cr. 366 (LGS)

Dear Judge Schofield:

         The Government respectfully writes to advise the Court that its review of additional
recently discovered materials from the Special Counsel’s Office (“SCO”), as described in its
letters of August 7, 2020 (Dkt. 96), September 9 (Dkt. 100), October 9 (Dkt. 110), and
November 9 (Dkt. 129) (the “Discovery Review Letters”), is now complete. Since the
Government’s November 9 letter, the Government undertook a comparison process that involved
an automated process of document comparison and then a manual analysis of the results. This
process, which was intended to double check our manual review of the same materials, led us to
identify approximately eleven additional documents, which we produced to the defense today.
We have not identified any additional nonduplicative discoverable material through this review.

       Accordingly, we have completed our review of our discovery productions described in
our Discovery Review Letters and our productions pursuant to that review. Of course, as we
have previously noted (see, e.g., Dkt. 74 at 25), should we in the course of preparing for trial
come into possession of or become aware of any other potentially discoverable material—of
which the Government is not presently aware—we will produce it promptly.

                                             Respectfully submitted,

                                             AUDREY STRAUSS
                                             Acting United States Attorney

                                          by: /s/ Paul M. Monteleoni
                                              Paul M. Monteleoni
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cc: Counsel of Record (via ECF)
